                                   Case 14-16451-MAM
 Fill in this information to identify the case:
                                                                                     Doc            Filed 07/25/19           Page 1 of 4
B 10 (Supplement 2) (12/11)             (post publication draft)
 Debtor 1              Nathaniel Rios
                       __________________________________________________________________

 Debtor 2               Linda Rios
                        ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________             Florida
                                                                District of __________
                                                                                                    (State)
 Case number            14-16451-MAM
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                    10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  US Bank Trust National Association, as Trustee of the SCIG Series III Trust                       Court claim no. (if known):
 Name of creditor:                ______________________________________                                                            7-2
                                                                                                                                    _________________
                                                                                                                  6 ____
                                                                                                                ____  9 ____
                                                                                                                          1 ____
                                                                                                                              3
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                441 SE Seabreeze Ln
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Port Saint Lucie, FL 34983
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                   $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                                      ____/_____/______
                                                                                                         MM / DD / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                             (a)     10,656.84
                                                                                                                                                      $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                    +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                                            (c)     10,656.84
                                                                                                                                                      $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                                     11    01 2018
                                                                                                        ____/_____/______
        due on:                                                                                          MM / DD   / YYYY


Form 4100R                                                             Response to Notice of Final Cure Payment                                            page 1
                                Case 14-16451-MAM                         Doc       Filed 07/25/19          Page 2 of 4


Debtor 1        Nathaniel Rios
                _______________________________________________________                                             14-16451-MAM
                                                                                             Case number (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




                /s/ Chase A Berger
                   __________________________________________________
                   Signature
                                                                                             Date    07 25 2019
                                                                                                     ____/_____/________




 Print             Chase                    A               Berger
                   _________________________________________________________                 Title   AUTHORIZED AGENT
                                                                                                     ___________________________________
                   First Name                      Middle Name        Last Name




 Company           GHIDOTTI | BERGER LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           3050 Biscayne Boulevard, Suite 402
                   _________________________________________________________
                   Number                 Street


                   Miami, Florida 33137
                   ___________________________________________________
                   City                                               State       ZIP Code




 Contact phone      305 _____–
                   (______) 501 _________
                                2808                                                               cberger@ghidottiberger.com
                                                                                             Email ________________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                       page 2
                 Case 14-16451-MAM          Doc     Filed 07/25/19     Page 3 of 4



 1   Chase Berger, Esq. (SBN 83794)
     GHIDOTTI | BERGER LLP
 2   3050 Biscayne Boulevard, Suite 402
 3   Miami, Florida 33137
     Tel: (305) 501-2808
 4   Fax: (954) 780-5578
     cberger@ghidottiberger.com
 5
 6   Attorney for Creditor
     US Bank Trust National Association, as Trustee of the SCIG Series III Trust
 7
                             UNITED STATES BANKRUPTCY COURT
 8
                   SOUTHERN DISTRICT OF FLORIDA (WEST PALM BEACH)
 9
10   In Re: Nathaniel Rios and Linda Rios               )   CASE NO.: 14-16451-MAM
                                                        )
11                                                      )   CHAPTER 13
12          Debtor.                                     )
                                                        )   CERTIFICATE OF SERVICE
13                                                      )
                                                        )
14
                                                        )
15
16
17
18
                                    CERTIFICATE OF SERVICE
19
20          I am employed in the County of Orange, State of California. I am over the age of
21
     eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,
22
     Santa Ana, CA 92705.
23
24          I am readily familiar with the business’s practice for collection and processing of

25   correspondence for mailing with the United States Postal Service; such correspondence would
26   be deposited with the United States Postal Service the same day of deposit in the ordinary
27
     course of business.
28




                                                    1
                                     CERTIFICATE OF SERVICE
                  Case 14-16451-MAM          Doc      Filed 07/25/19      Page 4 of 4



 1   On July 25, 2019 I served the following documents described as:
 2                      DISAGREED RESPONSE TO NOTICE OF FINAL CURE
 3                       PAYMENT

 4   on the interested parties in this action by placing a true and correct copy thereof in a sealed
 5
     envelope addressed as follows:
 6
     (Via United States Mail)
 7   Debtor                                               Debtor’s Counsel
     Nathaniel Rios                                       William M Kearce, Esq.
 8
     441 SE Seabreeze Ln.                                 824 U.S. Hwy 1 # 320
 9   Port Saint Lucie, FL 34983                           N Palm Beach, FL 33408

10   Joint Debtor                                         U.S. Trustee
11   Linda Rios                                           Office of the US Trustee
     441 SE Seabreeze Ln.                                 51 S.W. 1st Ave.
12   Port Saint Lucie, FL 34983                           Suite 1204
                                                          Miami, FL 33130
13   Trustee
14   Robin R Weiner
     POB 559007
15   Fort Lauderdale, FL 33355
16   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
17   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
18
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
19   Eastern District of California
20
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
21   America that the foregoing is true and correct.
22
            Executed on July 25, 2019 at Santa Ana, California
23
     /s / Marlen Gomez
24   Marlen Gomez
25
26
27
28




                                                      2
                                      CERTIFICATE OF SERVICE
